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        FAMILY DOLLAR, INC.
  11
  12
  13                            UNITED STATES DISTRICT COURT
  14                          CENTRAL DISTRICT OF CALIFORNIA
  15
  16    JOSEPHINE PERFECTO, MARK               Case No. 2:22-CV-01410-GW-JC
        BOULDIN, YVETTE SIMMONS,
  17    ASHLEY LEE, DANIEL MENJIVAR,           DECLARATION OF MELISSA
        CRYSTAL STALLINGS, individually,       TUTTON IN SUPPORT OF
  18    and on behalf of others similarly      DEFENDANT FAMILY
        situated,                              DOLLAR, INC.'S MOTION TO
  19                                           COMPEL ARBITRATION AND
                              Plaintiffs,      STAY ALL PROCEEDINGS
  20
               vs.                             Date:         June 2, 2022
  21                                           Time:         9:00 a.m.
        FAMILY DOLLAR, INC., a North           Courtroom:    9D
  22    Carolina corporation; and DOES I       Judge:        George H. Wu
        through 50, inclusive,
  23                                           Complaint Filed: December 29, 2021
                              Defendants.
  24
  25
  26
  27
                                                   DECLARATION OF MELISSA TUTTON ISO
  28     Case No. 2:22-CV-01410-GW-JC                MOTION TO COMPEL ARBITRATION &
                                                               STAY ALL PROCEEDINGS
Case 2:22-cv-01410-GW-JC Document 16-3 Filed 05/05/22 Page 2 of 12 Page ID #:221


   1                        DECLARATION OF MELISSA TUTTON
   2
   3          I, Melissa Tutton, declare and state as follows:
   4          1.      I am over the age of eighteen and am competent to testify to the matters
   5   contained in this Declaration.       This Declaration is based upon my personal
   6   knowledge, or I know of such facts by my review of the files maintained by
   7   Defendant Family Dollar, Inc. ("Family Dollar") in the regular course of its business
   8   at or near the time of the acts, conditions, or events recorded herein. If called on as
   9   a witness, I would testify competently to the facts stated herein.
  1O          2.      I am currently employed by Dollar Tree Management, LLC as Payroll
  11   Director. Dollar Tree Management, LLC provides payroll services for Associates
  12   working at different related entities, including those working for Family Dollar.
  13          3.      Pay statements of current and former Associates of Family Dollar are
  14   prepared and maintained in the ordinary course of Family Dollar's business.
  15               a. Attached as Exhibit A are a true and accurate copy of the pay statements
  16                  of Ashley Lee for pay periods between October 18, 2020 and November
  17                  14, 2020.
  18
  19               b. Attached as Exhibit Bare a true and accurate copy of the pay statements
  20                  of Crystal Stallings for pay periods between October 18, 2020 and
  21                  October 31, 2020.
  22   Ill
  23   Ill
  24   Ill
  25
  26               c. Attached as Exhibit Care a true and accurate copy of the pay statements
  27                  of Yvette Simmons for pay periods between October 18, 2020 and
  28                  November 28, 2020.

                                                         DECLARATION OF MELISSA TUTTON ISO
         Case No. 2:22-CV-01410-GW-JC          -2-         MOTION TO COMPEL ARBITRATION &
                                                                     ST AY ALL PROCEEDINGS
Case 2:22-cv-01410-GW-JC Document 16-3 Filed 05/05/22 Page 3 of 12 Page ID #:222




   2          I declare under penalty of perjury under the laws of the United States that the
   3   above statements are true and correct.
   4
   5          Executed this ~     th day of April 2022, at Chesapeake, Virginia.
   6
   7
                                                 Melissa Tutton
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                                                         DECLARATION OF MELISSA TUTTON ISO
         Case No.2 :22-CV-01410-GW-JC           -3-        MOTION TO COMPEL ARBITRATION &
                                                                     STAY ALL PROCEEDINGS
Case 2:22-cv-01410-GW-JC Document 16-3 Filed 05/05/22 Page 4 of 12 Page ID #:223




                        EXHIBIT A




                                EXHIBIT A, Page 4
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                                           Family Dollar, Inc.
                               500 Volvo Parkway · Chesapeake VA 23320
                                             757-321-5000
                              Wage rates are determined by Family Dollar




                                -                                                      -
                          Statement of Earnings and Deductions
  Pay Statement Number:                                                    Net Pay:
                         Name: ASHLEY S LEE                  Social Security Number:
               Team Member ID: 895593                                       Location: 31527
                  Employee ID: 006149408                                    Employer: FAMILY DOLLAR 31527
                   Period Start: 10/18/2020
                   Period End: 10/31/2020
                 Payment Date: 11/6/2020




                                                                                                            $0.00




                                        REDACTED




   New arbitration agreement applies to associates employed on December 10, 2020
                  View your pay stub online at www.familydollar.com
             (Associate Member Page - "My Online Paystub and W2" Link)
       You will need to provide your login ID (SSN no dashes) and your password.




                                              EXHIBIT A, Page 5
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                                                  Family Dollar, Inc.
                                      500 Volvo Parkway · Chesapeake VA 23320
                                                    757-321-5000
                                     Wage rates are determined by Family Dollar




                                       -                                                      -
                                 Statement of Earnings and Deductions
          Pay Statement Number:                                                   Net Pay:
                                Name: ASHLEY S LEE                  Social Security Number:
                      Team Member ID: 895593                                       Location: 31527
                         Employee ID: 006149408                                    Employer: FAMILY DOLLAR 31527
                          Period Start: 11/1/2020
                          Period End: 11/14/2020
                        Payment Date: 11/20/2020




                                                                                                                   $0.00




                                                 REDACTED




                                              Deposit Information
Type of Account                             Account Number                                                    Amount
DEPOSIT                                     * * * * * * * *0544                                                  $4.40
DEPOSIT                                     * * * * * * * *0544                                                $435.37

          New arbitration agreement applies to associates employed on December 10, 2020
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                                                      EXHIBIT A, Page 6
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                        EXHIBIT B




                                EXHIBIT B, Page 7
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                                            Family Dollar, Inc.
                                500 Volvo Parkway · Chesapeake VA 23320
                                              757-321-5000
                              Wage rates are determined by Family Dollar




                              -                                                          -
                          Statement of Earnings and Deductions
 Pay Statement Number:                                                     Net Pay:
                       Name: CRYSTAL STALLINGS                 Social Security Number:
             Team Member ID: 6408862                                        Location: 29182
                Employee ID: 006408862                                      Employer: FAMILY DOLLAR 29182
                 Period Start: 10/18/2020
                 Period End: 10/31/2020
               Payment Date: 11/6/2020




                                            REDACTED




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                                             EXHIBIT B, Page 8
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                        EXHIBIT C




                                EXHIBIT C, Page 9
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                                            Family Dollar, Inc.
                                500 Volvo Parkway · Chesapeake VA 23320
                                              757-321-5000
                              Wage rates are determined by Family Dollar




                              -                                                          -
                          Statement of Earnings and Deductions
  Pay Statement Number:                                                    Net Pay:
                       Name: YVETTE D SIMMONS                  Social Security Number:
             Team Member ID: 5003833                                        Location: 30254
                Employee ID: 000933764                                      Employer: FAMILY DOLLAR 30254
                 Period Start: 10/18/2020
                 Period End: 10/31/2020
               Payment Date: 11/6/2020




                                                                                                            $0.00




                                       REDACTED




   New arbitration agreement applies to associates employed on December 10, 2020
                  View your pay stub online at www.familydollar.com
             (Associate Member Page - "My Online Paystub and W2" Link)
       You will need to provide your login ID (SSN no dashes) and your password.




                                            EXHIBIT C, Page 10
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                                            Family Dollar, Inc.
                                500 Volvo Parkway · Chesapeake VA 23320
                                              757-321-5000
                              Wage rates are determined by Family Dollar




                              -                                                          -
                          Statement of Earnings and Deductions
  Pay Statement Number:                                                    Net Pay:
                       Name: YVETTE D SIMMONS                  Social Security Number:
             Team Member ID: 5003833                                        Location: 30254
                Employee ID: 000933764                                      Employer: FAMILY DOLLAR 30254
                 Period Start: 11/1/2020
                 Period End: 11/14/2020
               Payment Date: 11/20/2020




                                                                                                            $0.00




                                       REDACTED




   New arbitration agreement applies to associates employed on December 10, 2020
                  View your pay stub online at www.familydollar.com
             (Associate Member Page - "My Online Paystub and W2" Link)
       You will need to provide your login ID (SSN no dashes) and your password.




                                            EXHIBIT C, Page 11
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                                            Family Dollar, Inc.
                                500 Volvo Parkway · Chesapeake VA 23320
                                              757-321-5000
                              Wage rates are determined by Family Dollar




                              -                                                          -
                          Statement of Earnings and Deductions
  Pay Statement Number:                                                    Net Pay:
                       Name: YVETTE D SIMMONS                  Social Security Number:
             Team Member ID: 5003833                                        Location: 30254
                Employee ID: 000933764                                      Employer: FAMILY DOLLAR 30254
                 Period Start: 11/15/2020
                 Period End: 11/28/2020
               Payment Date: 12/4/2020




                                                                                                            $0.00




                                            REDACTED




   New arbitration agreement applies to associates employed on December 10, 2020
                  View your pay stub online at www.familydollar.com
             (Associate Member Page - "My Online Paystub and W2" Link)
       You will need to provide your login ID (SSN no dashes) and your password.




                                             EXHIBIT C, Page 12
